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                               THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF PUERTO RICO


      In re:                                                             PROMESA Title III

      THE FINANCIAL OVERSIGHT AND                                        Case No. 17 BK 3283-LTS
      MANAGEMENT BOARD FOR PUERTO RICO,
                                                                         (Jointly Administered)
               as representative of

      THE COMMONWEALTH OF PUERTO RICO et al.,

                               Debtors.1

                 INFORMATIVE MOTION OF ASSURED GUARANTY
               CORP. AND ASSURED GUARANTY MUNICIPAL CORP.
       REGARDING HEARING ON CONFIRMATION OF HTA PLAN OF ADJUSTMENT
                   AND AUGUST 17-18, 2022, OMNIBUS HEARING

  To the Honorable United States District Court Judge Laura Taylor Swain:

                     Assured Guaranty Corp. and Assured Guaranty Municipal Corp. (together, the

  “Assured Entities”) hereby submit this Informative Motion in compliance with the Order

  Regarding Procedures for Hearing on Confirmation of HTA Plan of Adjustment and August 17-

  18, 2022, Omnibus Hearing (the “Hearing Procedures Order,” ECF No. 21494)2 and respectfully

  state as follows:




  1
       The Debtors in these Title III cases, along with each Debtor’s respective Title III case number and the last four
  (4) digits of each Debtor’s Federal tax identification number, as applicable, are the (i) Commonwealth of Puerto Rico
  (“Commonwealth”) (Bankruptcy Case No. 17 BK 3283-LTS) (Last Four Digits of Federal Tax ID: 3481); (ii) Puerto
  Rico Sales Tax Financing Corporation (“COFINA”) (Bankruptcy Case No. 17 BK 3284-LTS) (Last Four Digits of
  Federal Tax ID: 8474); (iii) Puerto Rico Highways and Transportation Authority (“HTA”) (Bankruptcy Case No. 17
  BK 3567-LTS) (Last Four Digits of Federal Tax ID: 3808); (iv) Employees Retirement System of the Government of
  the Commonwealth of Puerto Rico (“ERS”) (Bankruptcy Case No. 17 BK 3566-LTS) (Last Four Digits of Federal
  Tax ID: 9686); and (v) Puerto Rico Electric Power Authority (“PREPA”) (Bankruptcy Case No. 17 BK 04780-LTS)
  (Last Four Digits of Federal Tax ID: 3747); and (vi) Puerto Rico Public Buildings Authority (“PBA”) (Bankruptcy
  Case No. 19-BK-5523-LTS) (Last Four Digits of Federal Tax ID: 3801) (Title III case numbers are listed as
  Bankruptcy Case numbers due to software limitations).
  2
        “ECF No.” refers to documents filed in Case No. 17-BK-3283-LTS, unless otherwise noted.
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                 1.     Casey J. Servais (casey.servais@cwt.com) of Cadwalader, Wickersham &

  Taft LLP will appear in person in the San Juan Courtroom and reserves the right to be heard on

  behalf of the Assured Entities at the HTA Confirmation Hearing and August 17-18, 2022, Omnibus

  Hearing .

                 2.     William J. Natbony (bill.natbony@cwt.com) of Cadwalader, Wickersham

  & Taft LLP will appear either in person in the San Juan Courtroom or via CourtSolutions and

  reserves the right to be heard on behalf of the Assured Entities at the HTA Confirmation Hearing

  and August 17-18, 2022, Omnibus Hearing.

                 3.     Mark     C.   Ellenberg    (mark.ellenberg@cwt.com)       of    Cadwalader,

  Wickersham & Taft LLP may appear either in person in the San Juan Courtroom or via

  CourtSolutions and reserves the right to be heard on behalf of the Assured Entities at the HTA

  Confirmation Hearing and August 17-18, 2022, Omnibus Hearing.

                 4.     Mr. Servais, Mr. Natbony and/or Mr. Ellenberg reserve the right to be heard

  on any matter raised by any party at the HTA Confirmation Hearing and August 17-18, 2022,

  Omnibus Hearing as concerns the Assured Entities related to the Title III Cases or the interests of

  the Assured Entities. The required Party Appearance Sheet, Party Witness Cover Sheet, and Party

  Exhibit Cover Sheet accompany this Informative Motion as Exhibits A through C respectively.



                             [Remainder of Page Intentionally Omitted]




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   Dated: July 28, 2022
          New York, New York


   CASELLAS ALCOVER & BURGOS P.S.C.                 CADWALADER, WICKERSHAM &
                                                    TAFT LLP

   By: /s/ Heriberto Burgos Pérez                   By: /s/ Howard R. Hawkins, Jr.
       Heriberto Burgos Pérez                           Howard R. Hawkins, Jr.*
       USDC-PR No. 204,809                              Mark C. Ellenberg*
       Ricardo F. Casellas-Sánchez                      Casey J. Servais*
       USDC-PR No. 203,114                              William J. Natbony*
       Diana Pérez-Seda                                 Thomas J. Curtin*
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                                                    * Admitted pro hac vice
   Counsel for Assured Guaranty Corp. and Assured
   Guaranty Municipal Corp.                         Counsel for Assured Guaranty Corp. and
                                                    Assured Guaranty Municipal Corp.




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                                  CERTIFICATE OF SERVICE

                 I hereby certify that I filed this document electronically with the Clerk of the Court

  using the CM/ECF System, which will send notification of such filing to all parties of record in

  the captioned case.


  At New York, New York, the 28th day of July, 2022.

                                                By: /s/ Howard R. Hawkins, Jr.
                                                     Howard R. Hawkins, Jr.*
                                                   * Admitted pro hac vice
